  Case 1:23-mj-00233-LEW Document 3 Filed 08/14/23 Page 1 of 2                 PageID #: 3




                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE

 UNITED STATES OF AMERICA

            v.
                                                    No.      1:23-mj-00233-JCN
 ANGELO CASTIGLIOLA


                                CRIMINAL COMPLAINT

         I, Andrew Drewer, being duly sworn, state that the following is true and correct

to the best of my knowledge and belief:

                               COUNT ONE
           (Making Repeated Telephone Calls with Intent to Harass)

      From about July 16, 2023 through August 3, 2023, within the District of Maine,
defendant,

                                    Angelo Castigliola

made repeated telephone calls or repeatedly initiated communication with a

telecommunications device, during which conversation or communication ensued,

solely to harass a specific person. Specifically, Castigliola repeatedly called and left

harassing voicemails for K.G., and sent harassing text messages to K.G., all on her

personal cell phone.

       In violation of Title 47, United States Code, Section 223(a)(1)(E).




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Case 1:23-mj-00233-LEW Document 3 Filed 08/14/23 Page 2 of 2   PageID #: 4
